O AO 247 (N C/W 11/11) O rder Regarding M otion for Sentence R eduction



                                       U NITED STATES D ISTRICT C OURT
                                                                          for the
                                                        Western District of North Carolina

                     United States of America                               )
                                v.                                          )
                                                                              Case No:      DNCW 494CR000044-007
             RODDRICK KEM TRELL MCDONALD                                    )
                                                                              USM No:       40302-004
                                                                            )
Date of Original Judgment:     March 26, 1996
                                                                            )
Date of Last Amended Judgment: November 18, 2008                              Ross Hall Richardson
                                                                            )
                                                                                Defendant’s Attorney

                     Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)

        Upon motion of  the defendant  the Director of the Bureau of Prisons  the court under 18 U.S.C.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion, and taking into account the policy statement set forth at USSG §1B1.10
and the sentencing factors set forth in 18 U.S.C. § 3553(a), to the extent that they are applicable,
IT IS ORDERED that the motion is:
        DENIED .    GRANTED and the defendant’s previously imposed sentence of imprisonment (as reflected in
                    the last judgment issued) of                   is reduced to

I. COURT DETERMINATION OF GUIDELINE RANGE (Prior to Any Departures)
Original Offense Level:    38             Amended Offense Level:     36
Criminal History Category: III            Criminal History Category: III
Original Guideline Range:  292-365 months Amended Guideline Range: 235-293 months
II. SENTENCE RELATIVE TO AMENDED GUIDELINE RANGE
 The reduced sentence is within the amended guideline range.
 The previous term of imprisonment imposed was less than the guideline range applicable to the defendant at the time
   of sentencing and the reduced sentence is comparably less than the amended guideline range.
 The reduced sentence is above the amended guideline range.
 Other (explain):  The application of Amendment 750 provides no change in the guideline calculations imposed
                    following application of Amendment 706. Since there was no change in the guideline range, the
                    Defendant is not eligible for a reduction. 1B1.10(a).



III. ADDITIONAL COMMENTS
Defendant has a consecutive 3 month term of imprisonment to serve on an Escape conviction from the Middle District of
Alabama, 2:09CR153-MEF-01.


Except as provided above, all provisions of the judgment dated                      March 26, 1996       shall remain in effect.
IT IS SO ORDERED.

Order Date:          February 7, 2012


Effective Date:
                       (if different from order date)




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